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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re

NEW CENTURY TRS HOLDINGS, INC., et                   Chapter 11
al.,                                                 Case No. 07-10416-KJC

                         Debtor.


                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on February 28, 2008, copies of the foregoing Motion for Relief

from Automatic Stay Under § 362 of the Bankruptcy Code, notice, and proposed order were served

via first-class mail, postage prepaid, upon the parties listed on the attached matrix.




Dated: February 28, 2008                            /s/ Maria Aprile Sawczuk
       Wilmington, Delaware                       Adam Hiller (DE No. 4105)
                                                  Maria Aprile Sawczuk (DE No. 3320)
                                                  Draper & Goldberg, PLLC
                                                  1500 North French Street, 2nd Floor
                                                  Wilmington, Delaware 19801
                                                  (302) 339-8776 telephone
                                                  (302) 213-0043 facsimile
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New Century TRS Holdings, Inc.           United States Trustee
New Century TRS Holdings                 844 King Street, Room 2207
18400 Von Karman Ave.                    Lockbox #35
Irvine, CA 92612                         Wilmington, DE 19899
Debtor
Mark D. Collins, Esquire                 Bonnie Glantz Fatell, Esquire
Christopher M. Samis, Esquire            David W. Carickhoff, Jr., Esquire
Richards, Layton & Finger                Blank Rome LLP
One Rodney Square                        1201 Market Street, Suite 800
P.O. Box 551                             Wilmington, DE 19801
Wilmington, DE 19899                     Attorneys for the Official Committee
Attorneys for the Debtor                  of Unsecured Creditors

Suzanne S. Uhland, Esquire               Mark T. Power, Esquire
Ben H. Logan, Esquire                    Mark S. Indelicato, Esquire
O’Melveny & Myers LLP                    488 Madison Ave.
275 Battery Street                       14th & 15th Floor
San Francisco, CA 94111                  New York, NY 10022
Attorneys for the Debtor                 Attorneys for the Official Committee
                                          of Unsecured Creditors
